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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                     Plaintiff,                   Case No.: 4:18-cv-2344

v.                                                JURY TRIAL DEMANDED
DOES 1 - 107,
                     Defendants.


 JOINT [PROPOSED] ORDER DENYING DOE DEFENDANTS’ MOTIONS TO QUASH AND
                      GRANTING PROTECTIVE ORDER

       Before the Court are the objections and motions to quash, dismiss, and for a

protective order submitted at Docket Entries 12, 13, 15, 16, 17, and 18 (the “Motions”).

Having considered the Motions, Plaintiff Siemens PLM’s Response (Dkt. 31), and

arguments of counsel for Siemens PLM and Doe #55, it is hereby ordered that the

Motions are granted in part and denied in part.

       To the extent the Motions seek to quash Siemens PLM’s subpoena to Charter

Communications, they are denied.

       To the extent the Motions seek to dismiss Siemens PLM’s Complaint, they are

denied without prejudice.

       To the extent to Motions seek protection from the Court with respect to the

Siemens PLM’s subpoena to Charter Communications, the Court orders that Charter

Communication will produce subscriber information for each IP Address about which
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Siemens PLM has requested information, including those Doe Defendants who filed

objections to Siemens PLM subpoena. However, Charter Communications will limit its

production of information to the name, address, telephone number, and email addresses

associated with the Charter Communications accounts associated with the IP addresses

about which Siemens PLM seeks information.

      To the extent the Motions seek permission from the Court to proceed

anonymously, those requests are granted, until such time that Siemens PLM files an

amended complaint and the parties can fully brief the Court on the issue of anonymity.

      Furthermore,    with   respect   to   all   information   received   from   Charter

Communications in response to the subpoena, Siemens PLM shall keep all information it

receives confidential and not make that information public, including in a filing of this

Court, unless and until Siemens PLM names a person associated with that information in

this lawsuit or another lawsuit in which the court has personal jurisdiction over the

defendant.



Signed the ___ day of _______________________, 2018.




                                                  UNITED STATES DISTRICT JUDGE




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